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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


CHERYL COMPTON, et al.,                    )
                                           )
             Plaintiffs,                   )
                                           )
       vs.                                 )        Case No. 4:11-CV-1975 (CEJ)
                                           )
ST. LOUIS METROPOLITAN POLICE,             )
DEPARTMENT, et al.,                        )
                                           )
             Defendants.                   )

                                        ORDER

      The Court having been advised that plaintiffs have satisfied their obligation to

pay the attorneys’ fees of defendants, St. Louis Metropolitan Police Department, Board

of Commissioners of the St. Louis Metropolitan Police Department, Richard Gray, Jerry

Lee, Bettye Battle-Turner, Thomas Irwin, and Francis Slay,

      IT IS HEREBY ORDERED that the motion of defendants’ motion for attorneys’

fees [Doc. #72] is moot.


                                               ___________________________
                                               CAROL E. JACKSON
                                               UNITED STATES DISTRICT JUDGE


Dated this 3rd day of February, 2014.
